Case 1:19-cr-00086-REB Document 175 Filed 07/26/21 USDC Colorado Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-86-REB-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.


     2. BRAINARD CLARK,

       Defendant.


       UNOPPOSED MOTION TO CONTINUE CHANGE OF PLEA HEARING


       The Defendant, Brainard Clark, by and through CJA counsel, Peter Hedeen,

moves this Honorable Court to continue the Change of Plea Hearing. As grounds, the

Defendant states as follows:

       1.      The Change of Plea Hearing in this case is currently scheduled for

August 5, 2021, at 11:00 AM.

       2.      The Change of Plea Hearing has previously been set and continued

from the date of April 28, 2021. The Court continued the Change of Plea Hearing due

to the COVID-19 pandemic, and in light of the Defendant’s desire to have the hearing

in person as opposed to via Video Teleconference (“VTC”).

       3.      The Court’s staff, after consultation with the parties, reset the Change of

Plea Hearing to August 5, 2021. Soon after setting that date, Undersigned Counsel

contacted the Court’s staff and indicated that the new date conflicted with his


                                             -1-
Case 1:19-cr-00086-REB Document 175 Filed 07/26/21 USDC Colorado Page 2 of 3




schedule, and that he would be out of town on August 5, 2021. The Court’s staff

indicated that since the order had entered the date could not be changed, and that

Undersigned Counsel should file a motion to continue closer to the Hearing Date.

       4.     Undersigned Counsel is still scheduled to be out of town on August 5,

2021, and therefor is requesting a short continuance of the Change of Plea Hearing.

       5.     Undersigned Counsel has conferred with Mr. Clark. At this time Mr.Clark

does persist in his request for an in-person Change of Plea Hearing, and agrees with

this Motion to Continue.

       6.     Undersigned Counsel has communicated with Assistant U.S. Attorney

Kelly Churnet regarding this Motion to Continue Change of Plea Hearing, and she has

no objection to this request.

       WHEREFORE, pursuant to Rule 47, Fed. R. Cr. P., Mr. Clark respectfully

requests that the Court grant this Motion to Continue the Change of Plea Hearing until

such time as the Court deems appropriate.

Dated this Monday, July 26, 2021.


                                        Respectfully submitted,



                                        __S/Peter Hedeen___
                                        Peter Hedeen
                                        2373 Central Park Blvd.
                                        Suite 100
                                        Denver, CO 80238
                                        720-979-0927
                                        303-803-1501 Fax




                                          -2-
Case 1:19-cr-00086-REB Document 175 Filed 07/26/21 USDC Colorado Page 3 of 3




                           CERTIFICATE OF SERVICE

        I hereby certify that on Monday, July 26, 2021, I electronically filed the
foregoing with the Clerk of the Court using the court’s ECF system which will send
notification of such filing to all counsel of record and the following e-mail address:


Kelly Churnet
Kelly.Churnet@usdoj.gov



       And, I hereby certify that I have mailed or served the document or paper to the
following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated
by the non-participant’s name:

Mr. Brainard Clark (via US Mail)




                                          __S/Peter Hedeen___
                                          Peter Hedeen
                                          2373 Central Park Blvd.
                                          Suite 100
                                          Denver, CO 80238
                                          720-979-0927
                                          303-803-1501 Fax




                                            -3-
